         Case 3:17-cv-01362 Document 1505-9 Filed 01/12/22 Page 1 of 3 PageID #: 68737




                                                                                                       CardinalHeakh




  January 23, 2013


  Dear ISF colleague,

  The safety and security of our nation’s pharmaceutical supply chain is a top priority, for Cardinal Health and a
  responsibility we take very seriously. A safe and reliable drug supply is central to our customers’ businesses and
  critical to the health and well-being of their patients. We believe that we must work together with our customers to
  ensure that they have an adequate supply of controlled substances to meet the legitimate needs of their patients
  while addressing the societal issue of prescription drug abuse.

  Part of our efforts to continuously improve our anti-diversion program is an enhanced threshold-setting
  methodology. We will begin using this new methodology on February 1, 2013.

  Prescription count serves as the foundation
  A pharmacy, that fills t000 prescriptions per day requires more prescription drugs - and more controlled substances
  = than a pharmacy that fills 100 prescriptions per day. With this in mind, we use each customer’s prescription count
  as the foundation of our threshold=setting methodology. For many customers we have limited visibility into the
  number of prescriptions they fill. In these situations, we calculate a prescription count based on the customer’s
  purchases from us, accounting for pricing of generic and brand drugs. This ensures that the volume of controlled
  substances we distribute to a customer is justified by their prescription volume.

  The more data we have, the more accurate the prescription count wi[[ be
  Customers that do not buy all of their drug products from us, particularly those purchasing significant amounts from
  other distributors, may not be pleased with this calculation of prescription volume. This new method ensures that our
  distributions of controlled substances to our customers make sense based on our knowledge of each customer.

  However, if Cardinal Health has visibility into a customers prescription volume through one of our offerings
  (customers using Inventory, Manager, Reimbursement Consulting Services, and certain customers using
  Reconciliation), we will give the customer 50 percent credit for the prescription volume associated with purchases
  from other distributors.

  For customers not using one of these offerings, we are offering a data feed option that will provide visibility, into the
  customer’s prescription dispensing volumes. The sign-up form for this option will be available in late January 2013.
  Using actual dispensing volume will allow us to establish more accurate prescription counts and thresholds for
  customers that purchase non-controlled prescription drugs from other source& Please note if the dispensing data
  reveals that a customer is purchasing controlled substances from other sources, this may result in lower thresholds
  with us for those drugs.

  Thresholds are based on national statistics
  Our thresholds for controlled substances are based on national statistics from a variety of sources including the
  Drug Enforcement Administration. For example, national statistics indicate that on average 4.5 percent of the
  prescriptions filled by a retail pharmacy are for oxycodone and hydrocodone combined. This is consistent with the
  dispensing volume of our customers. The average prescription for oxycodone and hydrocodone is issued for
  approximately 80 dosage units. Naturally, there is significant variation in the quantity dispensed depending on
  whether a prescription is issued for an acute or chronic condition. However, from our perspective as a distributor,
  we expect most customers’ orders to be within a reasonable range of national average&

          Example of Nationa! Average: Retail pharmacies in the U.S. fill an average of 4,300 prescriptions a month°
          4300 prescriptions * 4.5% * 80 dosage = 15,480 oxycodone and hydrocodone dosage units combined.




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           Case 3:17-cv-01362 Document 1505-9 Filed 01/12/22 Page 2 of 3 PageID #: 68738




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  Every order for controlled substances poses a risk of potential diversion, even orders that are very small. Therefore,
  all of us must be vigilant in identifying other signs of potential diversion such as filling prescriptions issued for
  patients who are travelling significant distances to obtain controlled substances, the presence of long lines of what
  appear to be healthy, young customers waiting to obtain narcotics, and groups of people arriving at the pharmacy
  together with similar prescriptions for controlled substances.

  One of the recurring ordering patterns among pharmacies that have been recently shut down by the DEA is that
  certain drugs strengths of concern constitute the majority of the orders for that particular drug family. For example,
  in many cases oxycodone 15 and 30 milligram products when combined comprised the majority of the oxycodone
  ordered. In response to this, we have established separate thresholds within a drug family for certain drug products
  that are more susceptible to diversion and abuse~ Currently, we have established separate thresholds for
  oxycodone 15 and 30 milligram immediate release products and hydrocodone 10 milligram products. Our
  implementation of these "sub-base code" thresholds could have a significant impact on those customers whose
  orders for oxycodone or hydrocodone are primarily comprised of drug strengths of concern.

  We recognize that not every pharmacy is the same
  We make allowances for variation in the practice of pharmacy based on a wide variety, of factors. We recognize that
  a limited number of pharmacies have a legitimate need for controlled substances in amounts that exceed the
  national average. However, only in limited circumstances will we allow a pharmacy to order controlled substances in
  amounts that exceed the national average, adjusting for overall prescription volume= In those limited circumstances
  we apply the following objective criteria in evaluating the customer:




   1,   The percentage of oxycodone that is oxycodonel5 and 30 milligram products                 22%          68%




 i 3.   The percentage of alprazolam that is alprazolam 2 milligram product                       16%          83%



  5.    The percentage of all prescriptions that is oxycodone and hydrocodone prescriptions       4.5%          14%



  7.    The percentage of controlled substances units dispensed that is a benzodiazepine
                                                                                                  20%          38%
        (e.g., alprazolam, diazepam, midazolam, etc..~)




  Our scoring system uses the objective factors to calculate a customer’s score and pass/fail rating. This pass/fail
  rating will determine whether or not, and to what extent, we set thresholds above the national average. Customers
  whose objective scores approach or exceed the 95th percentile in one or more of these areas as well as
  customers with a high cumulative score for the eight factors will receive additional scrutiny and thresholds
  will be managed accordingly,

  We established these objective criteria to help identify those pharmacies whose ordering patterns are similar to
  pharmacies that have been the subject of adverse DEA actions. Again, in order for our assessment to be accurate,
  we need visibility to customers’ dispensing volumes through one of our offerings mentioned earlier. Without that
  information, we will use the more conservative approach of basing the objective assessment on purchases from
  Cardinal Health.




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         Case 3:17-cv-01362 Document 1505-9 Filed 01/12/22 Page 3 of 3 PageID #: 68739




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  Reductions in thresholds are not a justification to purchase the same controlled substance drug family from another
  distributor. If a customer chooses to do this, we may further reduce the customer’s threshold or refuse to sell some
  or all controlled substances to that customer. We take this approach because the DEA has stated that purchasing
  the same controlled substances from more than one source is a pattern displayed by pharmacies that dispense
  controlled substances for other than a legitimate medical purpose.

  We will not fill any order for a controlled substance that exceeds a threshold
  Because our thresholds are based on prescription volume, we will not fill any order for a controlled substance that
  exceeds a threshold unless the customer meets our criteria for increasing the threshold to a level that will permit the
  order to be released. When customers approach a threshold early in an accrual cycle, you will receive notice and
  have an opportunity to interact with both the customer and QRA’s analytics team to better understand the
  circumstances around the orders so that we can determine whether the threshold is appropriately set,

  Order(s) exceeding a threshold and not filled will be reported to DEA as suspicious in compliance the DEA
  regulation found at 21 C.F.R. §1301.74(b).

  If a customer reaches a threshold in a drug family the customer will not receive any more of that drug family during
  the remainder of the customers accrual cycle unless QRA determines that an increase in the customer’s threshold
  is warranted. The process for determining whether a threshold increase is justified includes analyzing data against
  the objective criteria and may include the following: review of the dispensing practices of the pharmacy; the location
  of the pharmacy; the customer’s business model; regional dispensing practices; and a site visit to the pharmacy.

  We recognize that our pharmacy customers must sometimes make difficult decisions about whether prescriptions
  for controlled substances are issued for a legitimate medical purpose. The DEA’s decisions to revoke the DEA
  registration of pharmacies indicate that a pharmacist cannot simply rely upon a prescriber’s claim that a prescription
  is legitimate. Pharmacists must be alert to a variety of warning signs and must refuse to fill prescriptions if the
  pharmacist questions whether the prescription was issued for a legitimate medical purpose. You should encourage
  your customers to [ HYPERLINK "http:/lwww.deadiversion,usdoj,gov/fed_regslactionsi20121index.html"
  ] that are found on the DEA’s website.

  The enhancements to our anti-diversion program will help our customers and protect society. The new threshold-
  setting methodology is driven by analytics and objective data. Therefore, we are better able to communicate
  proactively w~th you and your customers to ensure that thresholds are properly established and that we understand
  each customer’s legitimate need for controlled substances. As we identify" customers that may be affected by the
  new threshold-setting methodology, we will work with you and your customers to collect and evaluate information.
  We are committed to working with our pharmacy customers to help them understand their obligations and to do our
  part to address the issue of pharmaceutical drug abuse.

  QRA’s management of thresholds is just one aspect of our anti-diversion efforts, It is imperative that all employees
  continue to vigilantly look for signs of potential diversion. If you see or hear anything that raises concerns, please
  contact our compliance hotline at 1-800-926-0834.

  Sincerely,

  Todd Cameron

  Vice President, Quality and Regulatory Affairs




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